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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 07-60238-CR-ZLOCH/Snow


  UNITED STATES OF AMERICA,

               Plaintiff,

  v.

  ISHWADE SUBRAN, et al.,

            Defendants.
  ______________________________
                                       O R D E R

                  THIS CAUSE is before the Court on defendant Patrick

  Aiken’s     Motion    to   Adopt   (DE    72)    Iswade     Subran’s     Motion   for

  Disclosure of Evidence Concerning Confidential Informants (DE 57)

  and    Motion    to    Adopt   (DE       73)    Iswade      Subran’s    Motion    for

  Reconsideration of Order Denying in Part Motion for Disclosure of
  Evidence Concerning Confidential Informant(s) (DE 71). Being fully

  advised, it is

               ORDERED and ADJUDGED that the Motions to Adopt (DE 72 and

  73) are GRANTED, except as to any matter where standing is an

  essential element of participation.              Any appeal from or objection
  to    any   magistrate     judge   ruling       must   be    taken     individually,

  specifically and timely.

               DONE AND ORDERED at Fort Lauderdale, Florida, this 22nd

  day of January, 2008.




  Copies to:
  AUSA Bruce Brown (FTL)
  Richard Della Fera, Esq.
  AFPD Chantel Doakes (FTL)
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